Case 1:17-cr-10292-FDS Document 12-1 Filed 08/09/17 Page 1of1

AFFIDAVIT IN SUPPORT OF RELEASE FROM CUSTODY

I, Basile Bazina, hereby state and depose as follows:

1. lama citizen of the United States currently residing at 11 Lansdowne Street,
Brockton, MA 02301.

2. I work as mental health counselor and a psychotherapist.

3, I have known Jean Leonard Teganya for 10 years. He is a good man who
genuinely cares about all people, without consideration of their race, ethnic
background, or class. This is consistent with his long held aspirations to become
a physician.

4, Jam willing and able to support Jean Leonard Teganya when he is released from
custody. He will stay with me at my address, which is 1] Lansdowne Street, apt
#3, Brockton MA 02301

5, Jean Teganya is a good person and a peaceful kind man. He is not a danger to the
community and is not a risk of flight. I will ensure that he attends all his
immigration court hearings and complies with any of the Department of
Homeland Security’s requirements,

6. [have read the above and the same is true and accurate to the best of my
knowledge and belief.

I swear, under the pains and penalties of perjury that the above is true and correct to the
best of my knowledge and belief.

Barile Bouse F-ll-20/4
Basile Bazina Date

Sworn to and subscribed before me this /‘Qday of Séalens-¢ 2014 at
D/H W482 he Affiant proved his/her identity to me by satisfactory

evidence including HissheiM2 t S213) eg? /? Upp

A
——
ee 4 reared PN on
Notary Publie-
My Gommission ¢eRESS MIRANDA

iy Pe Notary Public
ee. Commonwealth of Massachuasits
we" My Commission Exa. Sept, 30, 2076

